              Case 2:15-cr-00176-TLN Document 246 Filed 09/29/17 Page 1 of 3


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     Attorney for Defendant
6    AMBER COLLINS
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )               2:15-cr-00176-TLN-7
                                         )
13
                             Plaintiff,  )
14                                       )               STIPULATION AND ORDER
     v.                                  )               TO CONTINUE JUDGMENT
15                                       )               AND SENTENCING
                                         )
16
     AMBER COLLINS, et al.,              )
17                                       )
                             Defendants. )               Judge Troy L. Nunley
18   __________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Rosanne Rust, and defendant, Amber Collins, by and through her counsel, Erin J.
23
     Radekin, agree and stipulate to vacate the date set for judgment and sentencing, October 26,
24

25   2017 at 9:30 a.m., in the above-captioned matter, and to continue judgment and sentencing to

26   December 7, 2017 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
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              Case 2:15-cr-00176-TLN Document 246 Filed 09/29/17 Page 2 of 3


1           In addition, the parties stipulate to the following modification to the schedule of
2
     disclosure relating to the pre-sentence report (“PSR”):
3
            Written, or informal, objections              November 9, 2017
4

5
            Final PSR                                     November 16, 2017

6           Motion for correction of PSR                  November 22, 2017
7           Government’s reply                            November 30, 2017
8
            The reason for this request is that the defense needs additional time to prepare for
9
     sentencing, for the following reasons. First, court proceedings relating to the custody of one of
10

11   Ms. Collins’ children, who is presently a ward of the court, are scheduled for October 4, 2017.

12   On that date, the court will decide whether to return custody of the child to Ms. Collins. The
13
     outcome of such proceedings and documents relating to those proceedings are relevant to Ms.
14
     Collins’ rehabilitation and thus important mitigating evidence for use at sentencing. Efforts to
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     obtain documents used in these proceedings have been impeded because, in the last 30 days, one
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17   of the two investigators working on this case had a baby, and is presently on maternity leave, and

18   the other was out for recovery from surgery. Further, Ms. Radekin has a long-planned vacation
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     from September 30, 2017 to October 11, 2017. The Court is advised Ms. Rust and Ms. Moore
20
     have no opposition to the proposed dates set forth above, and Ms. Rust has authorized Ms.
21

22   Radekin to sign this stipulation on her behalf.

23          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
24
     IT IS SO STIPULATED.
25
     //
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              Case 2:15-cr-00176-TLN Document 246 Filed 09/29/17 Page 3 of 3


1    Dated: September 28, 2017                           PHILLIP A. TALBERT
                                                         United States Attorney
2

3                                                By:     /s/ Rosanne Rust
                                                         ROSANNE RUST
4                                                        Assistant United States Attorney
5

6    Dated: September 28, 2017                           /s/ Erin J. Radekin
                                                         ERIN J. RADEKIN
7                                                        Attorney for Defendant
8                                                        AMBER COLLINS

9
                                                 ORDER
10

11          For the reasons set forth in the accompanying stipulation and declaration of counsel, the

12   date set for judgment and sentencing, October 26, 2017 at 9:30 a.m. is VACATED and the
13
     above-captioned matter is set for judgment and sentencing on December 7, 2017 at 9:30 a.m. in
14
     the courtroom of the Honorable Troy L. Nunley.
15
            It is FURTHER ORDERED that the schedule of disclosure be modified as follows:
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17          Written, or informal, objections             November 9, 2017

18          Final PSR                                    November 16, 2017
19
            Motion for correction of PSR                 November 22, 2017
20
            Government’s reply                           November 30, 2017
21

22   IT IS SO ORDERED.

23   Dated: September 28, 2017
24

25                                                     Troy L. Nunley
                                                       United States District Judge
26

27

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                                                         3
